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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

v.                                                    CASE NO.: 4:08cr50-SPM

CHRISTOPHER JACQUETTE,
a/k/a Comp,
       and
LAWRENCE SECREASE,
a/k/a Law,

           Defendants.
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               ORDER CONTINUING SENTENCING HEARING

      Upon consideration, the Government’s First Motion to Continue

Sentencing (doc. 67) is granted. The sentencing hearings for Defendants

Jacquette and Secrease are reset for 1:30 p.m. on April 20, 2009, at the United

States Courthouse in Tallahassee, Florida.

      SO ORDERED this 6th day of February, 2009.



                                    s/ Stephan P. Mickle
                                 Stephan P. Mickle
                                 United States District Judge
